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                                                                    FILED ^
                                                                                          IN OPEN COURT


                                                                                         DEC 1 0 2021

                   IN THE UNITED STATES DISTRICT COURT FOR THE                      clerk. U.S. DISTRIGI COURT
                                                                                       Ai i yANDRIA. VIRGINIA
                              EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division


 UNITED STATES OF AMERICA

         V.                                            No. l:21-cr-27I


 MOHAMMED KHALIFA,

              a/k/a,

              Abu Ridwan Ai-Kanadi
              Abu Muthanna Al-Muhajir

         Defendant.



                                  CRIMINAL INFORMATION


       THE UNITED STATES ATTORNEY CHARGES THAT:


       From in or about August 2013, and continuing thereafter through January 2019, in an

offense committed outside of the jurisdiction of any particular State or district of the United

States, the defendant MOHAMMED KHALIFA, a/k/a Abu Ridwan Al-Kanadi and Abu

Muthanna Al-Muhajir, who was first brought to and found in the Eastern District of Virginia,

and others known and unknown to the Grand Jury, did conspire to provide "material support or

resources," as that term is defined in Title 18, United States Code, Section 2339A(b), namely,

personnel (including himself) and services, to a foreign terrorist organization - namely,the

Islamic State of Iraq and al-Sham ("ISIS"), which at all relevant times was designated by the

United States Secretary of State as a foreign terrorist organization pursuant to Section 219 of the

Immigration and Nationality Act- knowing that ISIS was a designated foreign terrorist

organization, that ISIS engages in or has engaged in terrorist activity, and that ISIS engages and

has engaged in terrorism. Deaths resulted from the commission of this offense.
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